
198 So.2d 319 (1967)
In the matter of the Use by the Trial Courts of the STANDARD JURY INSTRUCTIONS.
No. 36286.
Supreme Court of Florida.
April 19, 1967.
PER CURIAM.
This matter comes on to be heard on the report of the Supreme Court Committee on Standard Jury Instructions and the printed looseleaf book of instructions prepared by the Committee for use in civil negligence cases and submitted with the Committee's report. The Court generally approves the theory and technique of charging civil juries as recommended by the Committee and embodied in its proposed instructions. The Court will, accordingly, authorize the publication and use of such instructions, but without prejudice to the rights of any litigant objecting to the use of one or more of such approved forms of instructions. The Court recognizes that the initial determination of applicable substantive law in every case should be made by the trial judge and that it would be inappropriate for the Court at this time to consider the recommended instructions with a view to adjudging that the legal principles embodied in the recommended instructions correctly state the law of Florida. Similarly, the Court recognizes that no approval of the forms by the Court could relieve the trial judge of his responsibility under the law properly and correctly to charge the jury in each case as it comes before him. This order is not to be construed as any intrusion on that responsibility of the trial judges. The Court is confident that the forms of instructions recommended by the Committee state as accurately as a group of experienced lawyers and judges could state the law of Florida in simple understandable language. Accordingly, it is ordered by the Court:
1. The Supreme Court Committee on Standard Jury Instructions and The Florida Bar be and they are authorized forthwith to publish and distribute the instructions submitted by the Committee, a copy of which is attached together with the Introduction and General Note on Use. Illustrative forms of model charges as recommended by the Committee are also attached and may be published.
2. The Florida Rules of Civil Procedure are hereby amended so as to include an additional rule, entitled Use of Florida Standard Jury Instructions, which shall provide:
The forms of Florida Standard Jury Instructions published by The Florida Bar pursuant to authority of the Court *320 may be used by the trial judges of this State in charging the jury in every civil case to the extent that the forms are applicable, unless the trial judge shall determine that an applicable form of instruction is erroneous or inadequate, in which event he shall modify or amend such form or give such other instruction as the trial judge shall determine to be necessary accurately and sufficiently to instruct the jury in the circumstances of the case; and, in such event, the trial judge shall state on the record or in a separate order the respect in which he finds the standard form erroneous or inadequate and the legal basis of his finding. Similarly, in all circumstances in which the notes accompanying the Florida Standard Jury Instructions contain a recommendation that a certain type of instruction not be given, the trial judge may follow such recommendation unless he shall determine that the giving of such an instruction is necessary accurately and sufficiently to instruct the jury, in which event he shall give such instruction as he shall deem appropriate and necessary; and, in such event, the trial judge shall state on the record or in a separate order the legal basis of his determination that such instruction is necessary.
The foregoing Rule shall become effective on April 19, 1967.
3. A copy of the foregoing additional Rule shall be inserted in the printed book of instructions with the following Note appended thereto:
NOTE: In order that necessary corrections and revisions may be promptly considered by the continuing Supreme Court Committee on Standard Jury Instructions and by the Court, the trial judges and trial counsel are requested promptly to furnish the Director of Continuing Education of The Florida Bar appropriate evidence of each instance in which one of the forms of instruction is determined to be erroneous or inadequate and in which the giving of an instruction is determined to be necessary in circumstances in which the Committee has recommended that such an instruction not be given.
4. The Supreme Court Committee on Standard Jury Instructions is continued as a Committee of this Court for the immediate purpose of reviewing errors and inaccuracies and recommending to this Court amendments and revisions as experience may prove beneficial.
5. In accordance with the Resolution establishing the Committee, the members of the Bench and Bar who shall constitute the continuing Committee shall be reappointed or appointed by the Chief Justice and serve at his pleasure without compensation.
It is so ordered.
THORNAL, C.J., and THOMAS, ROBERTS, DREW, O'CONNELL, CALDWELL and ERVIN, JJ., concur.
